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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     RICARDO GOMEZ
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                       )   Case No.: Case No. 15-CR-00209 LJO-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        )   DEFENDANTS REQUEST AND WAIVER
                                                       )   OF APPEARANCE AND ORDER
12          vs.                                        )   THEREON
                                                       )
13   RICARDO GOMEZ,                                    )
                                                       )
14                   Defendant                         )
15   Defendant, RICARDO GOMEZ, hereby waives his appearance in person in open court upon the
16   status conference hearing set for Monday, October 5, 2015 at 1:00 p.m. in Courtroom 7 of the
17   above entitle court. Defendant hereby requests the court to proceed in his absence and agrees
18   that his interest will be deemed represented at said hearing by the presence of his attorney,
19   DAVID A. TORRES. Defendant further agrees to be present in person in court at all future
20   hearing dates set by the court including the dates for jury trial.
21

22   Date: 10/1/15                                                  _/s/ Ricardo Gomez_______
23
                                                                    RICARDO GOMEZ

24   Date: 10/2/15                                                  /s/ David A. Torres_________
                                                                    DAVID A. TORRES
25                                                                  Attorney for Defendant




                                         Summary of Pleading - 1
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 1

 2                                              ORDER

 3            Good cause appearing.

 4            IT IS HEARBY ORDERED that defendant RICARDO GOMEZ is hereby excused

 5   from appearing at this court hearing scheduled for October 5, 2015.

 6
     IT IS SO ORDERED.
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 8
     Dated:     October 2, 2015                                 /s/ Sheila K. Oberto
                                                      UNITED STATES MAGISTRATE JUDGE
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                                       Summary of Pleading - 2
